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Case 2:13-cv-08862-GAF-JCG Document 1 Filed 12/02/13 Page 33 of 39 Page ID #:36




                                          Exhibit B
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8
9                   SUPERIOR COURT OF THE STATE OF CALIFORNIA
10                                 COUNTY OF LOS ANGELES
11                                 UNLIMITED JURISDICTION
12
13    PRISCILLA ROJAS, and Individual,            ) CASE NO. BC 519731
                                                  )
14                  Plaintiff,                    ) STIPULATION RE: DAMAGES
                                                  )
15                                                )
                    vs.                           )
16                                                )
                                                  )
17    BASS & ASSOCIATES, AN                       )
      ARIZONA PROFESSIONAL                        )
18    CORPORATION and DOES 1-20,                  )
      inclusive                                   )
19                                                )
                    Defendants.                   )
20                                                )

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     ROJAS V. BASS & ASSOCIATES, P.C. (CASE NO. BC 519731)
     STIPULATION RE: DAMAGES
Case 2:13-cv-08862-GAF-JCG Document 1 Filed 12/02/13 Page 35 of 39 Page ID #:38



1           The plaintiff, Priscilla Rojas (“Plaintiff”), to this action, by and through her
2 undersigned counsel of record, hereby stipulates as follows:
3           The amount in controversy Plaintiff seeks in the above entitled action does not
4 exceed the sum of $75,000.00, exclusive of interest and costs.
5 IT IS SO STIPULATED.
6
7
8 DATED: November __, 2013                     CRAIG S. BORISON
9
10                                             By:
                                                      Craig S. Borison
11                                                    Attorney for Plaintiff
                                                      Priscilla Rojas
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     ROJAS V. BASS & ASSOCIATES, P.C. (CASE NO. BC 519731)
     STIPULATION RE: DAMAGES                                                                   1
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